Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 1 of 6 PageID #: 3400
Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 2 of 6 PageID #: 3401
Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 3 of 6 PageID #: 3402
Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 4 of 6 PageID #: 3403
Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 5 of 6 PageID #: 3404
Case 3:00-cr-00057-GMG-RWT Document 1476 Filed 04/15/10 Page 6 of 6 PageID #: 3405
